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8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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11   T. Baxter Dunn, et al.,                 No. 2:02-cr-0468-MCE-CMK
12              Petitioner,
13         v.                                ORDER
14   United States of America,
15              Respondent.
16                                ----oo0oo----
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18         On April 5, 2012, the Court heard oral argument on
19   Petitioners T. Baxter Dunn’s and N. Allen Sawyer’s “Petition for
20   Clarifying Order Pursuant to this Court’s Previous Order Granting
21   Writ of Error Coram Nobis”     ECF Nos. 729 and 730.      In the
22   petitions, Dunn and Sawyer sought refund of the $40,000.00 in
23   fines paid after pleading guilty in 2005 to honest services mail
24   fraud, in violation of 18 U.S.C. §§ 1341 and 1346.         Those
25   convictions were later vacated by this Court, following the
26   United States Supreme Court’s decision in Skilling v. United
27   States, 130 S. Ct. 2896 (2010).
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1    In addition to reimbursement for the fines paid, Dunn and Sawyer
2    also sought compounded annual interest.
3         After considering the briefs and hearing the parties’
4    arguments, the court orally stated its reasoning and held that
5    Dunn was entitled to reimbursement of the 40,000.00, but was not
6    entitled to interest on that amount.      This Order memorializes
7    that decision.
8         IT IS SO ORDERED.
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     Dated: April 20, 2012
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11                                    _____________________________
12                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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